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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )   CIVIL ACT. NO. 2:19-mc-3893-ECM
                                            )
LOWE’S HOME IMPROVEMENT,                    )
TROY, AL,                                   )
                                            )
       Garnishee                            )
                                            )
DEVON TUCKER,                               )
                                            )
       Defendant.                           )

                                       ORDER

       Upon consideration of the motion to dismiss (doc. 7) filed on October 17, 2019, and

for good cause, it is

       ORDERED that the motion to dismiss (doc. 7) is GRANTED and the Writ of

Garnishment is DISMISSED.

       The Clerk of the Court is DIRECTED to close this matter.

       DONE this 18th day of October, 2019.



                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
